Case 2:16-cv-02719-DSF-SK Document 27 Filed 12/23/16 Page 1 of 16 Page ID #:142




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 8   DOWNEY
 9
                           UNITED STATES DISTRICT COURT
10
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   GRACIELA HERRERA; and                )   Case No.: CV 16-2719 DSF (SKx)
                                          )   Honorable Judge: Dale S. Fischer
13   RUBEN ORDAZ,                         )
                                          )   Honorable Magistrate Judge: Steve King
14                      Plaintiff,        )
                                          )
15   vs.                                  )   ANSWER OF DEFENDANTS
                                          )   CITY OF LOS ANGELES AND
16                                        )   ALEJANDRO DOWNEY TO
     CITY OF LOS ANGELES;                 )   PLAINTIFFS’ FIRST AMENDED
17   ALEJANDRO DOWNEY; and                )   COMPLAINT AND DEMAND FOR
                                          )   JURY TRIAL
18   DOES 2-10, inclusive,                )
                                          )
19                      Defendants.       )
                                          )
20
21               COME NOW, DEFENDANTS, CITY OF LOS ANGELES and

22   ALEJANDRO DOWNEY, answering the PLAINTIFFS’ FIRST AMENDED
23
     COMPLAINT in the above-entitled action, for themselves and for no other parties,
24
25   admit, deny and allege as follows:
26         1.    Answering paragraph 1 of the Complaint, no factual allegations are made
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     therein, and on that basis the paragraph goes unanswered.
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 1         2.     Answering paragraph 2 of the Complaint, defendants lack sufficient
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     information and belief upon which to answer the allegations contained therein, and on
 3
 4   that basis deny the allegations.
 5         3.     Answering paragraph 3 of the Complaint, no factual allegations are made
 6
     therein, and on that basis the paragraph goes unanswered.
 7
 8         4.     Answering paragraph 4 of the Complaint, no factual allegations are made
 9
     therein, and on that basis the paragraph goes unanswered.
10
11         5.     Answering paragraph 5 of the Complaint, no factual allegations are made

12   therein, and on that basis the paragraph goes unanswered.
13
           6.     Answering paragraph 6 of the Complaint, no factual allegations are made
14
15   therein, and on that basis the paragraph goes unanswered.
16
           7.     Answering paragraph 7 of the Complaint, no factual allegations are made
17
18   therein, and on that basis the paragraph goes unanswered.

19         8.     Answering paragraph 8 of the Complaint, no factual allegations are made
20
     therein, and on that basis the paragraph goes unanswered.
21
22         9.     Answering paragraph 9 of the Complaint, no factual allegations are made
23   therein, and on that basis the paragraph goes unanswered.
24
           10.    Answering paragraph 10 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
27
28


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 1         11.    Answering paragraph 11 of the Complaint, defendants lack sufficient
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     information and belief upon which to answer the allegations contained therein, and on
 3
 4   that basis deny the allegations.
 5         12.    Answering paragraph 12 of the Complaint, defendants lack sufficient
 6
     information and belief upon which to answer the allegations contained therein, and on
 7
 8   that basis deny the allegations.
 9
           13.    Answering paragraph 13 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         14.    Answering paragraph 14 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         15.    Answering paragraph 15 of the Complaint, which incorporates by
16
     reference the allegations of other paragraphs of the pleading, defendants to the same
17
18   extent incorporate by reference the answers provided herein to those paragraphs.

19         16.    Answering paragraph 16 of the Complaint, defendants lack sufficient
20
     information and belief upon which to answer the allegations contained therein, and on
21
22   that basis deny the allegations.
23         17.    Answering paragraph 17 of the Complaint, defendants deny the
24
     allegations contained therein.
25
26         18.    Answering paragraph 18 of the Complaint, defendants deny the
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     allegations contained therein.
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 1         19.    Answering paragraph 19 of the Complaint, defendants lack sufficient
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     information and belief upon which to answer the allegations contained therein, and on
 3
 4   that basis deny the allegations.
 5         20.    Answering paragraph 20 of the Complaint, defendants lack sufficient
 6
     information and belief upon which to answer the allegations contained therein, and on
 7
 8   that basis deny the allegations.
 9
           21.    Answering paragraph 21 of the Complaint, defendants deny the
10
11   allegations contained therein.

12         22.    Answering paragraph 22 of the Complaint, defendants lack sufficient
13
     information and belief upon which to answer the allegations contained therein, and on
14
15   that basis deny the allegations.
16
           23.    Answering paragraph 23 of the Complaint, defendants deny the
17
18   allegations contained therein.

19         24.    Answering paragraph 24 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         25.    Answering paragraph 25 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           26.    Answering paragraph 26 of the Complaint, which incorporates by
25
26   reference the allegations of other paragraphs of the pleading, defendants to the same
27
     extent incorporate by reference the answers provided herein to those paragraphs.
28


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 1         27.    Answering paragraph 27 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         28.    Answering paragraph 28 of the Complaint, defendants deny the
 5   allegations contained therein.
 6
           29.    Answering paragraph 29 of the Complaint, defendants deny the
 7
 8   allegations contained therein.
 9
           30.    Answering paragraph 30 of the Complaint, defendants deny the
10
11   allegations contained therein.

12         31.    Answering paragraph 31 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         32.    Answering paragraph 32 of the Complaint, which incorporates by
16
     reference the allegations of other paragraphs of the pleading, defendants to the same
17
18   extent incorporate by reference the answers provided herein to those paragraphs.

19         33.    Answering paragraph 33 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         34.    Answering paragraph 34 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           35.    Answering paragraph 35 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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 1         36.    Answering paragraph 36 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         37.    Answering paragraph 37 of the Complaint, defendants deny the
 5   allegations contained therein.
 6
           38.    Answering paragraph 38 of the Complaint, no factual allegations are
 7
 8   made therein, and on that basis the paragraph goes unanswered.
 9
           39.    Answering paragraph 39 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         40.    Answering paragraph 40 of the Complaint, which incorporates by
13
     reference the allegations of other paragraphs of the pleading, defendants to the same
14
15   extent incorporate by reference the answers provided herein to those paragraphs.
16
           41.    Answering paragraph 41 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         42.    Answering paragraph 42 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         43.    Answering paragraph 43 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           44.    Answering paragraph 44 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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 1         45.    Answering paragraph 45 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         46.    Answering paragraph 46 of the Complaint, no factual allegations are
 5   made therein, and on that basis the paragraph goes unanswered.
 6
           47.    Answering paragraph 47 of the Complaint, no factual allegations are
 7
 8   made therein, and on that basis the paragraph goes unanswered.
 9
           48.    Answering paragraph 48 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         49.    Answering paragraph 49 of the Complaint, defendants deny the
13
     allegations contained therein.
14
15         50.    Answering paragraph 50 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         51.    Answering paragraph 51 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           52.    Answering paragraph 52 of the Complaint, which incorporates by
21
22   reference the allegations of other paragraphs of the pleading, defendants to the same
23   extent incorporate by reference the answers provided herein to those paragraphs.
24
           53.    Answering paragraph 53 of the Complaint, defendants deny the
25
26   allegations contained therein.
27
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 1         54.    Answering paragraph 54 of the Complaint, defendants deny the
 2
     allegations contained therein.
 3
 4         55.    Answering paragraph 55 of the Complaint, defendants deny the
 5   allegations contained therein.
 6
           56.    Answering paragraph 56 of the Complaint, defendants lack sufficient
 7
 8   information and belief upon which to answer the allegations contained therein, and on
 9
     that basis deny the allegations.
10
11         57.    Answering paragraph 57 and subparts (a-g) and (f sic) of the Complaint,

12   defendants deny the allegations contained therein.
13
           58.    Answering paragraph 58 of the Complaint, no factual allegations are
14
15   made therein, and on that basis the paragraph goes unanswered.
16
           59.    Answering paragraph 59 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         60.    Answering paragraph 60 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         61.    Answering paragraph 61 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           62.    Answering paragraph 62 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
27
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 1         63.    Answering paragraph 63 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         64.    Answering paragraph 64 of the Complaint, no factual allegations are
 5   made therein, and on that basis the paragraph goes unanswered.
 6
           65.    Answering paragraph 65 of the Complaint, no factual allegations are
 7
 8   made therein, and on that basis the paragraph goes unanswered.
 9
           66.    Answering paragraph 66 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         67.    Answering paragraph 67 of the Complaint, which incorporates by
13
     reference the allegations of other paragraphs of the pleading, defendants to the same
14
15   extent incorporate by reference the answers provided herein to those paragraphs.
16
           68.    Answering paragraph 68 of the Complaint, defendants deny the
17
18   allegations contained therein.

19         69.    Answering paragraph 69 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         70.    Answering paragraph 70 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           71.    Answering paragraph 71 of the Complaint, defendants deny the
25
26   allegations contained therein.
27
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 1         72.    Answering paragraph 72 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         73.    Answering paragraph 73 of the Complaint, no factual allegations are
 5   made therein, and on that basis the paragraph goes unanswered.
 6
           74.    Answering paragraph 74 of the Complaint, which incorporates by
 7
 8   reference the allegations of other paragraphs of the pleading, defendants to the same
 9
     extent incorporate by reference the answers provided herein to those paragraphs.
10
11         75.    Answering paragraph 75 and subparts (a-g) of the Complaint, defendants

12   deny the allegations contained therein.
13
           76.    Answering paragraph 76 of the Complaint, no factual allegations are
14
15   made therein, and on that basis the paragraph goes unanswered.
16
           77.    Answering paragraph 77 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         78.    Answering paragraph 78 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         79.    Answering paragraph 79 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           80.    Answering paragraph 80 of the Complaint, which incorporates by
25
26   reference the allegations of other paragraphs of the pleading, defendants to the same
27
     extent incorporate by reference the answers provided herein to those paragraphs.
28


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 1         81.    Answering paragraph 81 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         82.    Answering paragraph 82 of the Complaint, no factual allegations are
 5   made therein, and on that basis the paragraph goes unanswered.
 6
           83.    Answering paragraph 83 of the Complaint, defendants deny the
 7
 8   allegations contained therein.
 9
           84.    Answering paragraph 84 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         85.    Answering paragraph 85 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         86.    Answering paragraph 86 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         87.    Answering paragraph 87 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           88.    Answering paragraph 88 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23         89.    Answering paragraph 89 of the Complaint, no factual allegations are
24
     made therein, and on that basis the paragraph goes unanswered.
25
26         90.    Answering paragraph 90 of the Complaint, defendants deny the
27
     allegations contained therein.
28


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 1         91.    Answering paragraph 91 of the Complaint, no factual allegations are
 2
     made therein, and on that basis the paragraph goes unanswered.
 3
 4         92.    Answering paragraph 92 of the Complaint, no factual allegations are
 5   made therein, and on that basis the paragraph goes unanswered.
 6
 7
 8                               AFFIRMATIVE DEFENSES
 9
           As separate and distinct affirmative defenses, defendants allege each of the
10
11   following:

12         93.    The damages alleged were directly and proximately caused and
13
     contributed to by the negligence of decedent, and the extent of damages sustained, if
14
15   any, should be reduced in proportion to the amount of said negligence.
16
           94.    The damages alleged were directly and proximately caused and
17
18   contributed to by the negligence of other persons, and the extent of damages sustained,

19   if any, should be reduced in proportion to the amount of said negligence.
20
           95.    The force used against decedent, if any, was caused and necessitated by
21
22   the actions of plaintiff, and was reasonable and necessary for self-defense.
23         96.    The force used against decedent, if any, was caused and necessitated by
24
     the actions of decedent, and was reasonable and necessary for the defense of others.
25
26         97.    The claims are barred by the statute of limitations set forth in California
27
     Code of Civil Procedure § 340(3).
28


                                                 12
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 1           98.   The action should be abated in that all of the heirs of decedent have not
 2
     been joined as parties.
 3
 4           99.   The action is barred for lack of standing to sue.
 5           100. As to the federal claims and theories of recovery, the answering
 6
     defendants are protected from liability under the doctrine of qualified immunity,
 7
 8   because defendants’ conduct did not violate clearly established statutory or
 9
     constitutional rights of which a reasonable person would have known.
10
11           101. Defendants City of Los Angeles and Alejandro Downey, and all

12   defendants sued in their official capacities are immune from the imposition of punitive
13
     damages.
14
15           102. The state claims are barred for plaintiffs’ failure to comply with the
16
     provisions of the California Tort claims Act, Government Code § 910 et seq.
17
18           103. Defendants are immune from liability pursuant to the provisions of each

19   of the following California statutes, each of which is set forth as a separate and distinct
20
     affirmative defense:
21
22           Government Code §§ 815.2, 815.6, 818, 820.8, 834, 834(a), 835, 835(a) and
23   845.6
24
             Penal Code § § 836 and 836.5.
25
26   ….
27
     ….
28


                                                  13
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 1                              DEMAND FOR JURY TRIAL
 2
              WHEREFORE, defendants pray for judgment as follows:
 3
 4                 1.   That plaintiffs take nothing by this action;
 5                 2.   That the action be dismissed;
 6
                   3.   That defendants be awarded costs of suit;
 7
 8                 4.   That defendants be awarded other and further relief as the Court
 9
     may deem just and proper, including an award of attorney’s fees pursuant to 42 U.S.C.
10
11   §1988.

12
13   DATE: December 23, 2016         MICHAEL N. FEUER, City Attorney
                                     THOMAS H. PETERS, Chief Assistant City Attorney
14                                   CORY M. BRENTE, Supervising Assistant City Attorney
15                                   BY:__/S/ -   Craig J. Miller
16                                   CRAIG J. MILLER, DEPUTY CITY ATTORNEY
17                                   Attorneys for Defendants CITY OF LOS ANGELES
18                                   and ALEJANDRO DOWNEY

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 1                                     PROOF OF SERVICE
 2
           I, MARGARIT AVESYAN, declare as follows:
 3
 4        At the time of service I was over 18 years of age and not a party to this action.
     My business address is 200 N. Main Street, 600 City Hall East, Los Angeles, CA
 5   90012, which is the County, City and State where this mailing occurred.
 6
           On December 23, 2016, I served the document(s) described as:
 7
 8   ANSWER OF DEFENDANTS
     CITY OF LOS ANGELES AND ALEJANDRO DOWNEY TO PLAINTIFFS’
 9   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
10   To all the interested parties in this action:
11
     LAW OFFICES OF DALE K. GALIPO
12   Dale K. Galipo, Esq,
13   Eric Valenzuela, Esq.
     21800 Burbank Blvd, Suite 310
14
     Woodland Hills, CA 91367
15   T (818) 347-3333/F (818) 347-4118
16
     Southern California Lawyers Group, PC
17   Eric C. Morris, Esq.
18   5861 Pine Avenue, Suite A1
     Chino Hills, CA 91709
19   T (909) 466-4400/F (909) 839-5004
20
           I served a true copy of the document(s) above by:
21         [ ] Personally delivering it to the person(s) indicated below in the manner
22   provided in FRCivP 5(b).
23
           [xxx] Depositing it in the United States Mail in a sealed envelope with the
24   postage thereon fully prepaid to the address(es) above.
25
           Executed on December 23, 2016, at Los Angeles, California.
26
27         [ ] I hereby certify that I am a member of the Bar of the United States District
     Court, Central District of California.
28


                                                     15
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 1          [ xxx ] I hereby certify that I am employed in the office of a member of the Bar
 2   of this Court at whose direction the service was made.

 3         [ xxxx ] I hereby certify under the penalty of perjury that the foregoing is true
 4   and correct.
 5                                           Margarit Avesyan
 6                                    _____________________________________
                                           MARGARIT AVESYAN
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